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                     Exhibit
                     Exhibit P
                             P
                 $GREH$FUREDWRU$FUREDW5HDGHU0867EHXVHGWRFRPSOHWHWKLVIRUP
        Case 4:23-cv-01175-O  Document 74-16 Filed 06/17/24 Page 2 of 6 PageID 1227

    AO10T                                          FINANCIAL DISCLOSURE                                                        5HSRUW5HTXLUHGE\WKH(WKLFVLQ
                                                                                                                                 *RYHUQPHQW$FWRI
  Rev. /20
                                                PERIODIC TRANSACTION REP2RT                                                       86&




  1.First Name                                     Middle Initial          3. Last 1ame                    4. Suffix

 Reed                                             C                           O'Connor
  5.Title                                          6.District&RXUW8QLW                                      7Circuit

 US DIstrict Judge                                 TEXAS NORTHERN                                              05
 . Report Type                                    &DOHQGDU<HDU             Date Filed                       &KHFNER[LIDPHQGLQJSULRUUHSRUW
                                                                                                                    DQGHQWHUGDWHRISULRUVXEPLVVLRQ

 Periodic Transaction Report                        2023                      07/10/2023
  1.'DWHRI)LUVW7UDQVDFWLRQRQWKLV5HSRUW                                 1.'DWHRI/DVW7UDQVDFWLRQRQWKLV5HSRUW

 06/27/2023                                                                   06/28/2023

TRANSACTIONS $Q\SXUFKDVHVDOHRUH[FKDQJHWKDWH[FHHGVLQVWRFNVERQGVFRPPRGLWLHVIXWXUHVDQGRWKHU
VHFXULWLHV ,QFOXGHVWKRVHRIVSRXVHDQGGHSHQGHQWFKLOGUHQ

                      A.                                B                  C.               D.                                  (.
              Description Rf Assets                 7UDQVDFWLRQ           Date of       Date Notified                         Amount
                                                       Type             Transaction    of Transaction                      RI7UDQVDFWLRQ




1. SMC Corp                                        Sold            06/28/2023         07/04/2023        $1,000 - $15,000

2. Tesco PLC                                       Sold            06/28/2023         07/04/2023        $1,000 - $15,000

3. Toronto Dom Bk
                                                   Sold            06/27/2023         07/04/2023        $1,000 - $15,000

 4. Sanofi ADR                                     Buy             06/27/2023         07/04/2023        $1,000 - $15,000

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    Case 4:23-cv-01175-O
75$16$&7,216                     Document 74-16 Filed 06/17/24 Page 3 of 6 PageID 1228
                $Q\SXUFKDVHVDOHRUH[FKDQJHWKDWH[FHHGVLQVWRFNVERQGVFRPPRGLWLHVIXWXUHVDQGRWKHU PageRI
  TRANSACTIONS
VHFXULWLHV                      Any purchase, sale, or exchange that exceeds $1,000 in stocks, bonds, commodities futures, and other
            ,QFOXGHVWKRVHRIVSRXVHDQGGHSHQGHQWFKLOGUHQ                                                                                         Page 2 of 5
 securities (Includes those of spouse and dependent children)
 First Name Reed                                      Middle Initial C                      Last 1ame O'Connor                             Suffix
  First Name Reed                                     Middle Initial C                      Last Name O'Connor                            Suffix
                      $                                    %              &                     '                                (
                       A.
              'HVFULSWLRQRI$VVHWV                        B.
                                                      7UDQVDFWLRQ           C.
                                                                         'DWHRI                  D.
                                                                                              'DWH1RWLILHG                           E.
                                                                                                                                     $PRXQW
                Description of Assets                 Transaction
                                                         7\SH           Date of
                                                                       7UDQVDFWLRQ           Date Notified
                                                                                             RI7UDQVDFWLRQ                        Amount
                                                                                                                                 RI7UDQVDFWLRQ
                                                           Type           Transaction        of Transaction                     of Transaction




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    Case 4:23-cv-01175-O
75$16$&7,216                       Document 74-16 Filed 06/17/24 Page 4 of 6 PageID 1229
               $Q\SXUFKDVHVDOHRUH[FKDQJHWKDWH[FHHGVLQVWRFNVERQGVFRPPRGLWLHVIXWXUHVDQGRWKHU PagHRI
  TRANSACTIONS
VHFXULWLHV                     Any purchase, sale, or exchange
            ,QFOXGHVWKRVHRIVSRXVHDQGGHSHQGHQWFKLOGUHQ    that exceeds $1,000 in stocks, bonds, commodities futures, and other                Page 3 of 5
 securities (Includes those of spouse and dependent children).
 First Name Reed                                      Middle Initial C                      Last 1ame O'Connor                             Suffix
  First Name Reed                                     Middle Initial C                      Last Name O'Connor                            Suffix
                      $                                   %               &                     '                                (
                        A.
              'HVFULSWLRQRI$VVHWV                       B.
                                                      7UDQVDFWLRQ           Cc.
                                                                         'DWHRI                  D.
                                                                                              'DWH1RWLILHG                           E.
                                                                                                                                      $PRXQW
               Description of Assets                  Transaction
                                                         7\SH            Date of
                                                                       7UDQVDFWLRQ           Date Notified
                                                                                             RI7UDQVDFWLRQ                         Amount
                                                                                                                                  RI7UDQVDFWLRQ
                                                           Type           Transaction        of Transaction                      of Transaction




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    Case 4:23-cv-01175-O
75$16$&7,216                       Document 74-16 Filed 06/17/24 Page 5 of 6 PageID 1230
               $Q\SXUFKDVHVDOHRUH[FKDQJHWKDWH[FHHGVLQVWRFNVERQGVFRPPRGLWLHVIXWXUHVDQGRWKHU PageRI
  TRANSACTIONS
VHFXULWLHV                     Any purchase, sale, or exchange
            ,QFOXGHVWKRVHRIVSRXVHDQGGHSHQGHQWFKLOGUHQ    that exceeds $1,000 in stocks, bonds, commodities futures, and other                 Page 4 of 5
 securities (Includes those of spouse and dependent children).
 First Name Reed                                      Middle Initial C                      Last 1ame O'Connor                              Suffix
  First Name Reed                                     Middle Initial C                      Last Name O'Connor                             Suffix
                      $                                   %                  &                  '                                 (
                       A.
              'HVFULSWLRQRI$VVHWV                        B.
                                                      7UDQVDFWLRQ              Cc.
                                                                            'DWHRI                D.
                                                                                              'DWH1RWLILHG                            E.
                                                                                                                                       $PRXQW
                Description of Assets                  Transaction
                                                          7\SH             Date of
                                                                          7UDQVDFWLRQ        Date Notified
                                                                                             RI7UDQVDFWLRQ                         Amount
                                                                                                                                  RI7UDQVDFWLRQ
                                                           Type           Transaction        of Transaction                      of Transaction




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       Case 4:23-cv-01175-O Document 74-16 Filed 06/17/24                                                       Page 6 of 6 PageID 1231
                                                                                                                                      PageRI

First Name Reed                                      Middle Initial C                       Last name O'Connor                             Suffix


$'',7,21$/,1)250$7,2125(;3/$1$7,216




&(57,),&$7,21
,FHUWLI\WKDWDOOLQIRUPDWLRQJLYHQDERYH LQFOXGLQJLQIRUPDWLRQSHUWDLQLQJWRP\VSRXVHDQGPLQRURUGHSHQGHQWFKLOGUHQLIDQ\ LVDFFXUDWHWUXHDQGFRPSOHWHWR
WKHEHVWRIP\NQRZOHGJHDQGEHOLHIDQGWKDWDQ\LQIRUPDWLRQQRWUHSRUWHGZDVZLWKKHOGEHFDXVHLWPHWDSSOLFDEOHVWDWXWRU\SURYLVLRQVSHUPLWWLQJQRQGLVFORVXUH

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&5,0,1$/6$1&7,216 86&




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 s/ Reed C O'Connor




                                                 Committee on Financial Disclosure
                                                 Administrative Office of the United States Courts
                                                 Suite G-330
                                                 One Columbus Circle, N.E.
                                                 Washington, D.C. 20544
